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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


DUSTIN WARNOCK                                                                        PLAINTIFF


vs.                                   No. 4:19-cv-813-LPR


CAPITAL CITY TRAFFIC CONTROL, LLC,                                                  DEFENDANTS
and JAY MUNIZ


                                          NOTICE OF FILING


       COMES NOW Plaintiff Dustin Warnock (“Plaintiff”) by and through his attorneys

Lydia H. Hamlet and Josh Sanford of Sanford Law Firm, PLLC, and for his Notice of Filing

pursuant to ECF No. 6, states and alleges as follows:

       1.      Plaintiff files his Affidavit pursuant to the Court’s Order. ECF No. 6. See

Affidavit of Plaintiff Dustin Warnock attached as Exhibit 1.

       2.      Plaintiff’s counsel used TLOxp to verify that Mr. Muniz still resides at the

same Sheridan address.

       3.      The TLOxp report lists 620 Grant County Road, 34 Sheridan, Arkansas

72150 as Mr. Muniz’s current address. It also lists the license plate number of the Dodge

truck Process Server Jerome Mitchell photographed outside the residence. The relevant

TLOxp report pages and a photograph of the truck’s license plate taken by Mr. Mitchell

during one of his service attempts are attached as Exhibits 2 and 3, respectively.




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                                   Respectfully submitted,

                                   PLAINTIFF DUSTIN WARNOCK

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